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                                   UNITED STATES DISTRICT COURT
                                    DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
DR. SHIVA AYYADURAI,                )
SHIVA 4 SENATE,                     )
      Plaintiffs,                   )
                                    ) Civil Action NO.: 1:18-cv-10772-RWZ
vs.                                 )
                                    )
CITY OF CAMBRIDGE,                  )
      Defendant.                    )
____________________________________)

            DEFENDANT CITY OF CAMBRIDGE’S ASSENT TO PLAINTIFFS’
           MOTION FOR VOLUNTARY DISMISSAL AND MOTION TO STRIKE

         Defendant City of Cambridge (the “City”)1 hereby assents to dismissal of the instant

action, but moves to strike the assertions contained in Plaintiff Dr. Shiva Ayyadurai’s

Declaration (the “Declaration”), which is attached to the Plaintiffs’ Motion for Voluntary

Dismissal (“Motion”). As grounds therefore, the City states that the Declaration contains false

and misleading statements, including statements referring to alleged representations of the City

that the City did not make to Plaintiffs as the so-called “terms of surrender” were never agreed

upon by the City. The City requests that the Plaintiffs’ Motion for Voluntary Dismissal be

allowed without consideration of the Declaration, and that the Declaration be stricken.

         As further grounds therefore, the City states as follows:

         On April 5, 2018, the City’s Inspectional Services Department issued a zoning

enforcement order concerning a sign affixed to a bus located at the 701 Concord Avenue,

Cambridge, MA (the “Enforcement Order”). See, Complaint, ¶¶19-20, and Exhibit D to the



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  The City has appeared in the instant action for the limited purpose of filing this Assent and Motion to Strike, and
the City does not waive any of its defenses to the Complaint, including insufficient service of process, pursuant to
Fed.R.Civ.P. Rule 12(b)(5).
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Complaint. On April 22, 2018, the Plaintiffs filed the instant action seeking declaratory and

injunctive relief concerning the Enforcement Order.

       By letter dated May 11, 2018, the Commissioner of the City of Cambridge Inspectional

Services Department rescinded the Enforcement Order based upon representations regarding the

use of the bus that displayed the sign for events and driving to different locations. See, the May

11, 2018 letter, a true and accurate copy of which is attached hereto as Exhibit A. A copy of the

May 11, 2018 letter was provided to counsel for the Plaintiffs on May 16, 2018, and mailed by

Certified Mail to Plaintiff Dr. Shiva Ayyadurai on May 16, 2018.

       The City has not entered into a settlement agreement with the Plaintiffs, nor has the City

agreed to any terms of settlement or so-called “terms of surrender.” Furthermore, the City

vehemently denies the allegations contained in the fifth, sixth and seventh Whereas Paragraphs

of the Declaration, and specifically, the City denies that it is “fearful that the Preliminary

Injunction bring imposed on them would lead to the Defendants losing a federal lawsuit,” that it

is “fearful that the risk of discovery and depositions in a lawsuit would lead to exposing

Elizabeth Warren’s potential involvement in forcing the City’s actions against the Plaintiffs,”

and that it initiated negotiations and agreed upon the purported “terms of surrender.” The

allegations contained in the fifth, sixth and seventh Whereas Paragraphs of the Declaration are

false and baseless self-serving statements made by Plaintiff Ayyadurai.

       Accordingly, the Court should not consider these statements when acting upon the

Plaintiffs’ Motion for Voluntary Dismissal, and should strike the Declaration. However, because

the Plaintiffs are voluntarily seeking dismissal and the instant action has been rendered moot due

to the rescission of the Enforcement Order, the city respectfully requests that the Court grant the

Plaintiffs’ assented to Motion.



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       WHEREFORE, the City respectfully requests that the Plaintiffs’ Motion for Voluntary

Dismissal be allowed without consideration of the Declaration, and that the Declaration be

stricken.

                                             CITY OF CAMBRIDGE
                                             By its Attorney,

                                             /s/ Megan B. Bayer
                                             ____________________________________
                                             Megan B. Bayer (BBO# 669494)
                                             City of Cambridge Law Department
                                             Cambridge City Hall
                                             795 Massachusetts Avenue
                                             Cambridge, MA 02139
                                             (617) 349-4121
DATED:         May 18, 2018                  mbayer@cambridgema.gov


                            LOCAL RULE 7.1 CERTIFICATION

        Pursuant to Local Rule 7.1, counsel for the Defendant City of Cambridge hereby certifies
that she has, in good faith, conferred with counsel for the Plaintiffs prior to the filing of this
motion.
                                              /s/ Megan B. Bayer

                                             Megan B. Bayer


                                CERTIFICATE OF SERVICE

       I hereby certify that a true copy of the above document was served upon the following of
record via ECF:
                                          Timothy Cornell
                                           Patrick Dolan
                                        Cornell Dolan, P.C.
                                 One International Place, Suite 1400
                                         Boston, MA 02110

                                             /s/ Megan B. Bayer
Dated: May 18, 2018
                                             Megan B. Bayer




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